Form Number LR 3015-1 A (12/15)

                                                                FIRST AMENDED CHAPTER 13 PLAN
                                                                                                                                                 Case No.: 16-05126
 Debtor(s): Jermaine Stewart, Sr.                                SS#: xxx-xx-2314                Net Monthly Earnings:             1,223.00
                                                                 SS#:                           Number of Dependents:                      3
1. Plan Payments:
   (       ) Debtor(s) propose to pay direct a total of $                                      weekly     bi-weekly      semi-monthly     monthly into the plan; or
      ( X     ) Payroll deduction Order: To       Birmingham Water Works, 3600 1st Ave N, Birmingham, AL 35222                                                        for
                                                            $             564.38    weekly   bi-weekly semi-monthly                                  monthly.
      Length of plan is 60 months, and the total debt to be paid through the plan is $ 73,380.00                 .
         Chapter 13 filing fees will be paid through the chapter 13 trustee assigned to the case.
II. From the payments received, the trustee shall make disbursements pursuant to the Bankruptcy Code including:
      A. PRIORITY CLAIMS (INCLUDING ADMINISTRATIVE EXPENSES AND SUPPORT) [See § 1322(a)(2)]
      The following priority claims, if allowed, will be paid in full unless creditor agrees otherwise:
 CREDITOR                                      TYPE OF PRIORITY                                           SCHEDULED AMOUNT                              MONTHLY PAYMENT
 NONE
      B. Total Attorney Fee: $ 3,000.00 ; $0.00 paid pre-petition; $ 1,754.00 to be paid at confirmation and $ 877.00                               per month until paid in full.
      C. The holder of each SECURED claim shall retain the lien securing such claim until a discharge is granted and such claim shall be paid in full with interest in
      deferred cash payments as follows:
             1. Long Term Debts:
                                                                                                                                    Months
                                                          Amount of regular              Regular Payments                       Included in        Proposed        Proposed Fixed
                                         Total Amount of  Payment to be Paid             to begin:             Arrears to be     Arrearage       Interest Rate        Payment on
 Name of Creditor                                    Debt (check box)                    Month/Year          paid by Trustee          Amt.       on Arrearage           Arrearage
                                                                          by Trustee
                                                                          by Debtor JANUARY
 Specialized Loan Service                      $71,953.00                  $684.00 2017                               $0.00              0         0.00%                    $0.00
             2. Secured Debts (not long term debts) to be paid through Trustee:
                                                                                                                                                                            Fixed
                                     Adequate                                                                                        Proposed         Proposed         Payment to
                                     Protection     Total Amount                             Unsecured                                Interest            fixed             Begin
 Name of Creditor                    Payments             of Debt       Debtor's Value         Portion Description of Collateral       Rate           Payments       (Month/Year)
 America's First                                                                                      2008 LEXUS LS460
 Federal Credit Union                $214.00        $25,306.00          $21,350.00              $0.00 (910 claim)                    5.00%            $525.00 JULY 2017
 America's First                                                                                      2013 KAWASAKI
 Federal Credit Union                  $53.00        $5,736.00            $5,295.00             $0.00 MULE (910 claim)               5.00%            $119.00 JULY 2017
III. Other debts (not shown in 1 or 2 above) which Debtor(s) propose to pay direct:
                                                                                         Amount of Regular
 Name of Creditor                                         Total Amount of Debt                    Payment Description of Collateral              Reason for Direct Payment
 -NONE-
IV.        Special Provisions (check all applicable boxes):
           This is an original plan.
          This is an amended plan replacing plan dated December 12, 2016       .
           This plan proposes to pay unsecured creditors 100 %.
           Other Provisions: 1.) ATTORNEY'S FEES FOR THE DEBTORS SHALL BE PAID WITH MONTHLY FIXED PAYMENTS PURSUANT TO
ADMINISTRATIVE ORDER 11-01. 2.) DEBTOR(S) WILL CONTINUE TO PAY PRE & POST PETITION SERVICE DEBT WITH ALL UTILITY
PROVIDERS IN THE ORDINARY COURSE OF BUSINESS IN LIEU OF POSTING A DEPOSIT AS ADEQUATE ASSURANCE OF FUTURE
PAYMENT UNDER SECTION 366 OF THE U.S. BANKRUPTCY CODE. DEBTOR(S) ACKNOWLEDGES AND AGREES THAT THE AUTOMATIC
STAY DOES NOT BAR A UTILITY COMPANY'S EFFORTS TO COLLECT PRE PETITION AND POST PETITION UTILITY SERVICE DEBT. 3.) THE
POST-PETITION/PRE CONFIRMATION ADEQUATE PROTECTION PAYMENTS SHALL BE PAID BY THE CHAPTER 13 TRUSTEE AS SET OUT
IN SECTION (2) ABOVE. 4.) HOLDERS OF FILED AND ALLOWED NON PRIORITY UNSECURED CLAIMS SHALL RECEIVE A PRO RATA
SHARE (POT PLAN) OF $5,295.00 THROUGH THE DISTRIBUTION OF THE DEBTOR'S CHAPTER 13 PLAN. 5.) DEBTOR SURRENDERS THE
TIMESHARE TO WYNDHAM RESORTS.
 Attorney for Debtor Name/Address/Telephone #               Dated: December 14, 2016  /s/ Jermaine Stewart, Sr.
 /s/ David G. Poston
 David G. Poston ASB-8157-T55D                                                                                           Jermaine Stewart, Sr.
 PO Box 311167                                                                                                           Signature of Debtor
 Enterprise, AL 36331
 Email: brockstout@enter.twcbc.com
             (334) 393-4357
 Telephone # Fax: (334) 393-0026

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         Case 16-05126-DSC13                            Doc 13        Filed 12/14/16 Entered 12/14/16 17:23:01                                           Desc Main
                                                                     Document     Page 1 of 4
Form Number LR 3015-1 A (12/15)
                                                                     CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that on the 14th day of December 2016, I served a true and correct
copy of the following by immediate electronic service upon C. David Cottingham, Acting Chapter 13 Trustee,
(ctmail@ch13bham.com). A copy of same was served by US Postal Service Postage prepaid and properly
addressed upon all parties listed on the attached creditors matrix.

                                                                                   /s/ David G. Poston
                                                                                   DAVID G. POSTON




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        Case 16-05126-DSC13                             Doc 13        Filed 12/14/16 Entered 12/14/16 17:23:01   Desc Main
                                                                     Document     Page 2 of 4
Case 16-05126-DSC13   Doc 13    Filed 12/14/16 Entered 12/14/16 17:23:01   Desc Main
                               Document     Page 3 of 4
Case 16-05126-DSC13   Doc 13    Filed 12/14/16 Entered 12/14/16 17:23:01   Desc Main
                               Document     Page 4 of 4
